            Case 1:22-cv-00014-N/A Document 4           Filed 01/24/22     Page 1 of 24




                 UNITED STATES COURT OF INTERNATIONAL TRADE

 HOME DEPOT USA, INC.,
                       Plaintiff,
            v.                                    Court No. 22-00014
 THE UNITED STATES; JOSEPH R. BIDEN,
 JR., in his official capacity as
 PRESIDENT OF THE UNITED STATES;
 UNITED STATES CUSTOMS AND
 BORDER PROTECTION; CHRISTOPHER
 MAGNUS in his official capacity as
 COMMISSIONER OF U.S. CUSTOMS AND
 BORDER PROTECTION; UNITED
 STATES DEPARTMENT OF COMMERCE;
 and GINA M. RAIMONDO in her official
 capacity as SECRETARY OF COMMERCE,
                       Defendants.


                                         COMPLAINT

       Plaintiff Home Depot U.S.A., Inc. (“THD”), by and through its attorneys, alleges and states

as follows:

       1.        On January 24, 2020, then President Donald J. Trump issued Presidential

Proclamation 9980 imposing a 25 percent tariff on imports of so-called “derivative” steel products,

purportedly pursuant to his power under Section 232 of the Trade Expansion Act of 1962, as

amended (19 U.S.C. § 1862) (“Section 232”). 85 Fed. Reg. 5281 (Jan. 29, 2020) (“Proclamation

9980”) (attached as Exhibit 1).

       2.        THD is an importer of steel nails and similar articles, a product defined in

Proclamation 9980 as a derivative steel product subject to the additional 25 percent tariff. Thus,

THD is adversely affected because it pays the additional duty on its imports of steel nails and

similar articles. Furthermore, THD did not have an opportunity to provide input into the

President’s decision to impose these tariffs because Wilbur Ross, the Secretary of Commerce
            Case 1:22-cv-00014-N/A Document 4            Filed 01/24/22      Page 2 of 24




(“Secretary”) at the time of the decision, had not undertaken the required investigation nor

published any report of findings that imports of derivative steel products, including steel nails and

similar articles, posed a threat to national security of the United States. The first public

announcement that tariffs would be imposed pursuant to Section 232 occurred on January 24,

2020—the day Proclamation 9980 was issued.

       3.       The President’s authority to impose tariffs under Section 232 is limited. Before the

President may do so, the Secretary must investigate whether imports of the product at issue threaten

to impair national security. The Secretary must submit to the President within 270 days of the

investigation’s commencement a report of his findings and publish that report in the Federal

Register. 19 U.S.C. § 1862(b)(3). If the report concludes that such imports pose a threat to national

security, then a 90-day period is triggered during which the President must decide whether he

agrees with the report and, if so, to announce the nature and duration of any remedial action. 19

U.S.C. § 1862(c)(1)(A)(ii). That remedial action must be implemented within fifteen days of the

President’s decision. 19 U.S.C. § 1862(c)(1)(B).

       4.       Proclamation 9980 was issued with neither the President nor the Secretary of

Commerce complying with the statutory requirements of Section 232. The Secretary had not

investigated whether imports of derivative steel products threatened national security. He had not

submitted a written report to the President, nor published a written report in the Federal Register.

Because no report was ever issued, the statute’s deadlines for Presidential decision and

implementation passed without the required actions.

       5.       The President and the Secretary were aware of the procedural obligations required

before remedial actions under Section 232 could be implemented, having used Section 232

previously. In 2017, the Secretary investigated the effects of imports of certain steel mill products.




                                                  2
            Case 1:22-cv-00014-N/A Document 4            Filed 01/24/22    Page 3 of 24




On January 11, 2018, he submitted to the President the required report on the effect of such imports

on national security. U.S. Department of Commerce, Bureau of Industry and Security, Office of

Technology Evaluation, The Effect of Imports of Steel on the National Security: An Investigation

Conducted Under Section 232 of the Trade Expansion Act of 1962, as Amended (Jan. 11, 2018)

(“Steel Report”).

       6.       Neither the Secretary’s 2017 investigation nor the Steel Report addressed derivative

articles of steel. Even if they had, Proclamation 9980 violated the deadlines imposed under Section

232, as Proclamation 9980 was issued 744 days after the President received the Steel Report and

640 days after he was required to implement any action based on it.

       7.       The President exceeded the powers delegated to him by Congress under Section

232 when he issued Proclamation 9980 without following the procedural requirements of Section

232.

       8.       On April 5, 2021, the United States Court of International Trade decided

PrimeSource Building Products, Inc. v. United States, et. al., No. 20-00032, 2021 Ct. Intl. Trade

LEXIS 36 (Ct. Int’l Trade Apr. 5, 2021), appeal docketed, No. 21-2066 (Fed. Cir. June 4, 2021),

holding that Proclamation 9980 was issued by the President after his congressionally delegated

authority to adjust imports of the products identified in Proclamation 9980 had expired. As such,

the court invalidated as contrary to law Proclamation 9980, finding it to be an action taken outside

of delegated authority.




                                                 3
             Case 1:22-cv-00014-N/A Document 4             Filed 01/24/22      Page 4 of 24




JURISDICTION

        9.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1581(i); and the

Administrative Procedures Act (“APA”), 5 U.S.C. §§ 702, 704, 706. Section 1581 provides that

“the U.S. Court of International Trade shall have exclusive jurisdiction of any civil action

commenced against the United States, its agencies, or its officers, that arises out of any law of the

United States providing for . . . tariffs, duties, fees, or other taxes on the importation of merchandise

for reasons other than the raising of revenue,” 28 U.S.C. § 1581(i)(1)(B), and “administration and

enforcement with respect to the matters referred to in paragraphs (1)-(3) of this subsection [(i)].”

Id. § 1581(i)(1)(D). The APA provides this Court with broad judicial review of agency actions

brought by “person[s] suffering legal wrong because of agency action, or adversely affected or

aggrieved by agency action within the meaning of the relevant statute.” 5 U.S.C. § 702.

PARTIES

        10.      THD is a home improvement retailer that offers products for the Do-It-Yourself

(“DIY”) customer and professional contractors, offering more than a million products used in a

broad range of DIY and professional construction projects, and offering an installation business

for the Do-It-For-Me customer. THD employs more than 400,000 associates and operates almost

2,000 stores in the U.S. THD is the importer of record of steel nails and similar articles, which are

identified as derivative steel products in Proclamation 9980. As importer of record, THD pays the

25 percent tariff being assessed pursuant to Proclamation 9980 and Section 232 on its imports of

steel nails and similar articles.

        11.      Defendant United States is the recipient of the Section 232 tariffs that are the

subject of this suit and is the statutory defendant under section 1581(i).




                                                   4
          Case 1:22-cv-00014-N/A Document 4              Filed 01/24/22     Page 5 of 24




       12.       Defendant Joseph R. Biden Jr. is the President of the United States. At the time of

the events complained of herein, Donald J. Trump was President of the United States, in which

capacity he issued Proclamation 9980. Defendant Biden is sued in his official capacity only.

       13.       Defendant United States Customs and Border Protection (“CBP”) is the agency that

administers and enforces the tariffs imposed under Section 232, including the tariffs ordered

pursuant to Proclamation 9980.

       14.       Defendant Christopher Magnus is the Commissioner of CBP. When Proclamation

9980 was issued, Mark A. Morgan was the Acting Commissioner of CBP, with responsibility for

overseeing CBP’s collection of tariffs paid by THD. Defendant Magnus is sued in his official

capacity only.

       15.       Defendant United States Department of Commerce (“Commerce”) is the agency

responsible by statute for initiating and conducting investigations under Section 232 and for

providing findings and recommendations to the President of the United States. Proclamation 9980

purports to respond to certain undisclosed “assessments” and “recommendations” made by

Commerce.

       16.       Defendant Gina M. Raimondo is the Secretary of Commerce. When Proclamation

9980 was issued, Wilbur Ross was the Secretary of Commerce and was the individual responsible

for conducting investigations and issuing reports under Section 232. Defendant Raimondo is sued

in her official capacity only.

STANDING

       17.       THD has standing to bring this action pursuant to 28 U.S.C. § 2631(i), which states

that “[a]ny civil action of which the Court of International Trade has jurisdiction, other than an

action specified in subsections (a)-(h), may be commenced in the court by any person adversely

affected or aggrieved by agency action within the meaning of [the APA at] section 702 of title 5.”


                                                  5
          Case 1:22-cv-00014-N/A Document 4               Filed 01/24/22      Page 6 of 24




Section 702, in turn, states that “[a] person suffering legal wrong because of agency action, or

adversely affected or aggrieved by agency action within the meaning of a relevant statute, is

entitled to judicial review thereof.” 5 U.S.C. § 702.

        18.     THD has standing to challenge the Defendants’ unlawful acts in issuing

Proclamation 9980 and imposing tariffs of 25 percent on certain derivative articles of steel

pursuant to it. THD is the importer of record in the United States, and it paid (and is paying) the

25 percent tariff on steel nails and similar articles imposed by the challenged Proclamation. In

addition, THD suffered actual and irreparable harm from the Proclamation because it was deprived

of the right to provide written comments and testimony regarding the imposition of the 25 percent

duties on its imports of steel nails and similar articles. Therefore, THD is a “person . . . adversely

affected or aggrieved” by the issuance and implementation of Proclamation 9980, within the

meaning of 5 U.S.C. §702, and has suffered, and continues to suffer concrete and particularized

injury resulting from the issuance and implementation of Proclamation 9980.

TIMELINESS OF THIS ACTION

        19.     This action has been filed within two years of January 24, 2020, the date the

President issued Proclamation 9980. This filing is timely, therefore, because it is filed within two

years after the earliest this cause of action could have accrued. 28 U.S.C. § 2636(i).

STATEMENT OF FACTS

I.      Section 232 of the Trade Expansion Act of 1962

        20.     Section 232, titled “Safeguarding National Security,” authorizes the President,

upon a “finding” that “an article is being imported into the United States in such quantities or under

such circumstances as to threaten to impair the national security,” to take action “to adjust the

imports of the article and its derivatives so that such imports will not threaten to impair the national




                                                   6
         Case 1:22-cv-00014-N/A Document 4                Filed 01/24/22      Page 7 of 24




security.” 19 U.S.C. § 1862(c)(1)(A)(ii). Section 232 dictates the administrative process required

before the President can make such an action. 19 U.S.C. § 1862(b).

       21.     A Section 232 action begins with a request from “the head of any department or

agency,” including the Secretary of Commerce himself, to the Secretary of Commerce, who “shall

immediately initiate an appropriate investigation to determine the effects on the national security

of imports of the article which is the subject of such request.” 19 U.S.C. § 1862(b)(1)(A).

Commerce’s Bureau of Industry and Security (“BIS”) conducts Section 232 investigations in

accordance with Federal Regulations codified at 15 C.F.R. Part 705.

       22.     The Secretary of Commerce, pursuant to Section 232, conducts the investigation in

consultation with the Secretary of the Department of Defense (“Secretary of Defense”) and other

U.S. officials, as appropriate, to determine the effects of the investigated imports on the national

security. Specifically, the Secretary of Commerce shall “immediately provide notice to the

Secretary of Defense of any investigation,” shall “consult with the Secretary of Defense regarding

the methodological and policy questions raised in any investigation,” and if appropriate, shall

“hold public hearings or otherwise afford interested parties an opportunity to present information

and advice.” 19 U.S.C. §§ 1862(b)(1)(B); (b)(2)(A). The “Secretary of Defense shall provide the

Secretary [of Commerce] an assessment of the defense requirements of any article” under

investigation. 19 U.S.C. § 1862(b)(2)(B).

       23.     Within 270 days after initiating an investigation, the Secretary of Commerce “shall

submit to the President” and publish in the Federal Register “a report on the findings of such

investigation with respect to the effect of the importation of such article in such quantities or under

such circumstances upon the national security and, based on such findings, the recommendations

of the Secretary for action or inaction under th[e] section.” 19 U.S.C. § 1862(b)(3)(A). “If the




                                                  7
         Case 1:22-cv-00014-N/A Document 4               Filed 01/24/22      Page 8 of 24




Secretary finds that such article is being imported into the United States in such quantities or under

such circumstances as to threaten to impair the national security, the Secretary shall so advise the

President in such report.” Id.

       24.      “Any portion of the report submitted by the Secretary [of Commerce] under

[§1862(b)(3)] (A) which does not contain classified information or proprietary information shall

be published in the Federal Register.” 19 U.S.C. § 1862(b)(3)(B).

       25.     A report by the Secretary of Commerce that an article is being imported into the

United States in such quantities or under such circumstances as to threaten to impair the national

security triggers a duty on the President to act. Within 90 days, the President must “determine

whether the President concurs with the finding of the Secretary.” 19 U.S.C. § 1862(c)(1)(A).

Conversely, if the Secretary of Commerce’s report does not contain a finding that an article is

being imported into the United States in such quantities or under such circumstances as to threaten

to impair national security, the President has neither a duty nor the authority to take any action

under Section 232. Id.

       26.     If the President concurs with the Secretary of Commerce that an article is being

imported into the United States in such quantities or under such circumstances as to threaten to

impair national security, the President must “determine the nature and duration of the action that,

in the judgment of the President, must be taken to adjust the imports of the article and its

derivatives so that such imports will not threaten to impair the national security.” 19 U.S.C.

§ 1862(c)(1)(A)(ii). After making this determination, the President has 15 days to implement the

action. 19 U.S.C. § 1862(c)(1)(B).




                                                  8
         Case 1:22-cv-00014-N/A Document 4                Filed 01/24/22      Page 9 of 24




       27.     Finally, the President must “submit to the Congress a written statement of the

reasons” explaining his determination “[b]y no later than the date that is 30 days after the date on

which the President makes any determinations.” 19 U.S.C. § 1862(c)(2).

II.    Commerce’s Investigation of Steel Articles under Section 232

       28.     On April 19, 2017, then Secretary of Commerce Wilbur Ross initiated an

investigation under Section 232 into the effects of certain steel imports on the national security of

the United States. As part of the investigation, Commerce collected written public comments, held

a public hearing, and consulted with the Secretary of Defense. Notice Request for Public

Comments and Public Hearing on Section 232 National Security Investigation of Imports of Steel,

82 Fed. Reg. 19205 (April 26, 2017).

       29.     Commerce’s notice of its Section 232 investigation referenced only steel mill

products and not derivative products such as steel nails and similar articles. Based on the exclusive

reference to steel mill products, THD had no reason to believe that its imports of steel nails and

similar articles would be subject to the investigation.

       30.     On January 11, 2018, BIS issued the Steel Report. The Steel Report expressly stated

that the scope of the investigation was limited to certain steel mill products (“Steel Articles”)

described and classified in subheadings 7206.10 through 7216.50, 7216.99 through 7302.10,

7302.40 through 7302.90, and 7304.10 through 7306.90 of the Harmonized Tariff Schedule of the

United States (“HTSUS”). Steel Report at 21 (“Product Scope of the Investigation”). The Steel

Articles described in the Steel Report did not include steel nails (or similar articles), which are not

classifiable under any of the HTSUS numbers identified in the Steel Report.

       31.     The Steel Report observed that the United States’ domestic steel industry was in

decline, that shrinking “capacity utilization rates” were deterring capital investment and that

imports had contributed to the fall off in domestic production. Id. at 3-5. “[T]he Secretary of


                                                  9
         Case 1:22-cv-00014-N/A Document 4                Filed 01/24/22      Page 10 of 24




Commerce conclude[d] that the present quantities and circumstance of steel imports are

responsible for a ‘weakening of our internal economy’ and threaten to impair the national security

as defined in Section 232.” Id. at 5. Commerce identified global excess steel capacity as a

circumstance that contributes to the “weakening of our internal economy” that “threaten[s] to

impair” the national security as defined in Section 232. Id. at 5, 16. It explained that “U.S. steel

production capacity has remained flat since 2001, while other steel producing nations have

increased their production capacity, with China alone able to produce as much steel as the rest of

the world combined.” Id. at 52. Commerce recommended that the President take immediate action

to adjust the level of these imports through quotas or tariffs. Id. at 58-61. Commerce recommended

three alternative actions, each of which had the stated objective of enabling the U.S steel industry

to operate at an average capacity utilization rate of 80 percent or better. Id. at 6-9.

       32.     In the Steel Report, Commerce explained that it analyzed the impact of imports of

the subject steel articles using a broad definition of “national security,” to include not only the

term “national defense” but also to “include[ ] the general security and welfare of certain industries,

beyond those necessary to satisfy national defense requirements, which are critical to minimum

operations of the economy and government.” Steel Report at 1, 13-15 (quotation omitted).

       33.     On February 18, 2018, the Secretary of Defense sent a letter to Commerce

providing its position on the recommendations contained in the Steel Report. The Secretary of

Defense conveyed that in his view, “U.S. military requirements for steel and aluminum each only

represent about three percent of U.S. production” and “[t]herefore, DoD does not believe that the

findings in the reports [by Commerce] impact the ability of DoD programs to acquire the steel or

aluminum necessary to meet national defense requirements.” See Memorandum from Sec’y of Def.

to Sec’y of Commerce re: Response to Steel and Aluminum Policy Recommendations (Feb. 18,




                                                  10
         Case 1:22-cv-00014-N/A Document 4               Filed 01/24/22    Page 11 of 24




2018) (“Defense Memorandum”) at 1. The Secretary of Defense also shared that the Department

of Defense “continues to be concerned about the negative impact on our key allies” of “the

recommended options within the reports.” Id.

        34.       Neither the Steel Report nor the Defense Memorandum identified steel nails (or

similar articles) as an important element of the Department of Defense’s national defense

requirements.

III.    The Proclamation on Articles of Steel

        35.       On March 8, 2018, then President Donald J. Trump issued Proclamation 9705

pursuant to Section 232 and the Steel Report.

        36.       Proclamation 9705 imposed 25 percent tariffs on U.S. imports of certain steel mill

articles. See Adjusting Imports of Steel into the United States, 83 Fed. Reg. 11625 (Mar. 15, 2018)

(“Proclamation 9705”).

        37.       Proclamation 9705 stated “that Canada and Mexico present a special case” given

their “shared commitment [with the United States] to support . . . each other in addressing national

security concerns.” Id. at 11626. Accordingly, the President “determined that the necessary and

appropriate means to address the threat to national security posed by imports of steel articles from

Canada and Mexico is to continue ongoing discussions with these countries” and exempt them

“from the tariff, at least at this time.” Id.

        38.       The new 25 percent steel tariffs were scheduled to take effect as to all countries

other than Canada and Mexico on March 23, 2018. Id. at 11627.

        39.       Proclamation 9705 imposed tariffs on the following articles:

              •   flat-rolled products provided for in headings 7208, 7209, 7210,
                  7211, 7212, 7225 or 7226;

              •   bars and rods provided for in headings 7213, 7214, 7215, 7227, or
                  7228; angles, shapes and sections of [heading] 7216 (except


                                                  11
         Case 1:22-cv-00014-N/A Document 4                Filed 01/24/22      Page 12 of 24




                  subheadings 7216.61.00, 7216.69.00 or 7216.91.00); wire provided
                  for in headings 7217 or 7229; sheet piling provided for in
                  subheading 7301.10.00; rails provided for in subheading 7302.10;
                  fish-plates and sole plates provided for in subheading 7302.40.00;
                  and other products of iron or steel provided for in subheading
                  7302.90.00;

              •   tubes, pipes and hollow profiles provided for in heading 7304, or
                  7306; tubes and pipes provided for in heading 7305;

              •   ingots, other primary forms and semi-finished products provided for
                  in heading 7206, 7207 or 7224; and

              •   products of stainless steel provided for in heading 7218, 7219, 7220,
                  7221, 7222 or 7223.

Id. at 11629.

        40.       Proclamation 9705 made no reference to any derivative articles of steel; steel nails

or similar articles; or to the specific derivative articles of steel later set out in Proclamation 9980.

        41.       Proclamation 9705 instructed that:

                  The Secretary shall continue to monitor imports of steel articles and shall, from
                  time to time, in consultation with the Secretary of State, the Secretary of the
                  Treasury, the Secretary of Defense, the USTR, the Assistant to the President for
                  National Security Affairs, the Assistant to the President for Economic Policy, the
                  Director of the Office of Management and Budget, and such other senior Executive
                  Branch officials as the Secretary deems appropriate, review the status of such
                  imports with respect to the national security. The Secretary shall inform the
                  President of any circumstances that in the Secretary’s opinion might indicate the
                  need for further action by the President under Section 232 of the Trade Expansion
                  Act of 1962, as amended. The Secretary shall also inform the President of any
                  circumstance that in the Secretary’s opinion might indicate that the increase in duty
                  rate provided for in this proclamation is no longer necessary.

Id. at 11628.




                                                   12
         Case 1:22-cv-00014-N/A Document 4               Filed 01/24/22      Page 13 of 24




IV.    Proclamation 9980

       42.     On January 24, 2020, without any prior notice and nearly two years after issuing

Proclamation 9705, the President issued Proclamation 9980, imposing, inter alia, a 25 percent

tariff on U.S. imports of certain “derivative” products manufactured from steel, effective February

8, 2020. 85 Fed. Reg. 5281 (Jan. 29, 2020).

       43.     The President cited the Steel Report and his instructions in Proclamation 9705 that

the Secretary of Commerce inform him of any further action needed under Section 232 as his legal

authority to issue Proclamation 9980:

               1. On January 11, 2018, the Secretary of Commerce (Secretary)
               transmitted to me a report on his investigation into the effect of
               imports of steel articles on the national security of the United States,
               and on January 19, 2018, the Secretary transmitted to me a report on
               his investigation into the effect of imports of aluminum articles on
               the national security of the United States. Both reports were issued
               pursuant to section 232 of the Trade Expansion Act of 1962, as
               amended (19 U.S.C. 1862).

....

               4. In Proclamation 9704 and Proclamation 9705, I directed the
               Secretary to monitor imports of aluminum articles and steel articles,
               respectively, and inform me of any circumstances that in the
               Secretary’s opinion might indicate the need for further action under
               section 232 of the trade Expansion Act of 1962, as amended.

Id. at 5281.

       44.     Proclamation 9980 states that further action under Section 232 is warranted because

the Secretary of Commerce has “informed” the President that “domestic steel producers’ capacity

utilization has not stabilized for an extended period of time at or above . . . 80 percent.” Id.

       45.     Proclamation 9980 also states that the Secretary of Commerce has “informed” the

President that, “[a]lthough imports of aluminum articles and steel articles [included in

Proclamations 9704 and 9705] have declined since the imposition of the tariffs and quotas



                                                  13
            Case 1:22-cv-00014-N/A Document 4              Filed 01/24/22     Page 14 of 24




[pursuant to those Proclamations], . . . imports of certain derivatives of aluminum articles and

imports of certain derivatives of steel articles have significantly increased,” and that the “net effect

of the increase of imports of these derivatives has been to erode the customer base for U.S.

producers of aluminum and steel.” Id. at 5281-82.

        46.       Proclamation 9980 further states that “[i]t is the Secretary’s assessment that foreign

producers of these derivative articles have increased shipments of such articles to the United States

to circumvent the duties on aluminum articles and steel articles imposed in Proclamation 9704 and

Proclamation 9705, and that imports of these derivative articles threaten to undermine the actions

taken to address the risk to the national security of the United States found in Proclamation 9704

and Proclamation 9705.” Id. at 5282.

        47.       Proclamation 9980 imposed 25 percent tariffs on the following derivative articles

of steel:

              •   nails, tacks (other than thumb tacks), drawing pins, corrugated nails,
                  staples (other than those of heading 8305) and similar articles, of
                  iron or steel, whether or not with heads of other material (excluding
                  such articles with heads of copper), suitable for use in powder-
                  actuated handtools, threaded (described in subheading 7317.00.30;
                  and

              •   nails, tacks (other than thumb tacks), drawing pins, corrugated nails,
                  staples (other than those of heading 8305) and similar articles, of
                  iron or steel, whether or not with heads of other material (excluding
                  such articles with heads of copper), of one piece construction,
                  whether or not made of round wire; the foregoing described in
                  statistical reporting numbers 7317.00.55.03, 7317.00.55.05,
                  7317.00.55.07, 7317.00.55.60, 7317.00.55.80 or 7317.00.65.60
                  only and not in other statistical reporting numbers of subheadings
                  7317.00.55 and 7317.00.55.65;

              •   bumper stampings of steel, the foregoing comprising parts and
                  accessories of the motor vehicles of headings 8701 to 8705
                  (described in subheading 8708.10.30); and

              •   body stampings of steel, for tractors suitable for agricultural use
                  (described in subheading 8708.29.21).


                                                   14
         Case 1:22-cv-00014-N/A Document 4                 Filed 01/24/22     Page 15 of 24




Id. at 5290-91.

        48.       These articles were selected because they met the following criteria in Proclamation

9980:

                  (a)    the aluminum article or steel article represents, on average,
                  two-thirds or more of the total cost of materials of the derivative
                  article;”

                  (b) Import volumes of such derivative article increased year-to-
                  year since June 1, 2018, following the imposition of the tariffs in
                  Proclamation 9704 and Proclamation 9705 . . . in comparison to
                  import volumes of such derivative article during the 2 preceding
                  years; and

                  (c)    Import volumes of such derivative article following the
                  imposition of the tariffs exceeded the 4 percent average increase in
                  the total volume of goods imported into the United States during
                  the same period since June 1, 2018.

Id. at 5282.

V.      Proclamation 9980 Was Not Authorized Pursuant to Section 232

        49.       The Secretary of Commerce has not made available to the public any information

that may have been provided to the President pursuant to Section 232 that could have supported

the President’s issuance of Proclamation 9980.

        50.       The Secretary of Commerce did not investigate under Section 232, nor submit to

the President a report of such investigation, concerning the effect of imports of derivative articles

of steel or aluminum on the national security of the United States.

        51.       Neither BIS’s investigation into the effects of imports of certain steel mill articles

on the national security of the United States nor the resulting Steel Report, on which Proclamation

9980 purports to rely, involved any of the derivative articles of steel subject to Proclamation 9980,

or derivative articles of steel in general.




                                                   15
         Case 1:22-cv-00014-N/A Document 4                Filed 01/24/22      Page 16 of 24




        52.     Pursuant to Section 232, BIS was required to complete its investigation within 270

days of April 19, 2017, a period that expired on January 14, 2018. Section 232 does not authorize

the Secretary of Commerce to make additional findings or recommendations to the President

regarding the April 19, 2017 investigations after that date.

        53.     The Steel Report was published more than two years earlier than the date

Proclamation 9980 was issued.

        54.     Pursuant to Section 232, the President was required to announce the nature and

duration of any remedial actions to be taken based on the Steel Report within 90 days of the

issuance of the Steel Report, a period that expired on April 11, 2018. Section 232 does not authorize

the President to make additional determinations or take any additional remedial actions based on

the Steel Report after that date.

        55.     The President announced his determination based on the Steel Report in

Proclamation 9705 on March 8, 2018 and implemented remedial action on March 23, 2018.

        56.     Pursuant to Section 232, the President was required to implement any action based

on Proclamation 9705 within 15 days of March 8, 2018, a period that expired on March 23, 2018.

Section 232 does not authorize the President to implement remedial actions pursuant to

Proclamation 9705 after that date.

VI.     The Tariffs Imposed Are Not Rationally Related to the Purported Threat to the
        National Security of the United States

        57.     Proclamation 9980 sets out no findings that the performance of any United States

industry producing any of the identified derivative articles of steel, including steel nails and similar

articles, had experienced economic decline.




                                                  16
           Case 1:22-cv-00014-N/A Document 4              Filed 01/24/22      Page 17 of 24




          58.   Proclamation 9980 sets out no findings showing the effect on the national security

of the United States based on the economic decline in any domestic industry producing one or

more of the identified derivative articles of steel, including steel nails and similar articles.

          59.   Proclamation 9980 identifies one reason supporting its conclusion that imports of

the derivative articles are a threat to national security: importation of derivative articles, in lieu of

domestic manufacturing of such derivative articles, depresses the demand for domestic articles of

steel that could be used in the domestic production of derivative articles.

          60.   The derivative articles of steel identified in Proclamation 9980, however, represent

a negligible portion of total U.S. imports of derivative articles of steel and a negligible portion of

the total U.S. market for derivative articles of steel.

          61.   Proclamation 9980 omitted numerous derivative articles of steel, which articles

represents a far larger portion of overall U.S. imports of derivative articles of steel and a far larger

portion of the overall U.S. market for derivative articles of steel.

STATEMENT OF CLAIMS

COUNT I – ULTRA VIRES ACTS BY THE PRESIDENT AND SECRETARY OF
COMMERCE

          62.   THD incorporates by reference paragraphs 1 through 61 of this Complaint.

          63.   Congress has the exclusive “power to lay and collect taxes, duties, imports and

excises” and “to regulate Commerce with foreign nations.” U.S. CONST. Art. 1, § 8.

          64.   Pursuant to Section 232, Congress has vested the President with certain authority

to regulate commerce with foreign nations in response to imports into the United States in such

quantities or under such circumstances as to threaten to impair the national security of the United

States.




                                                   17
           Case 1:22-cv-00014-N/A Document 4              Filed 01/24/22      Page 18 of 24




          65.   Section 232 is the President’s only statutory authority to regulate commerce with

foreign nations in response to imports into the United States when those imports are in such

quantities or under such circumstances as to threaten to impair the national security of the United

States.

          66.   The President has no independent Constitutional authority to regulate commerce

with foreign nations in response to imports into the United States when those imports are in such

quantities or under such circumstances as to threaten to impair the national security of the United

States.

          67.   Section 232 delineates the procedure that the Secretary of Commerce and President

must follow before the President may take any action with respect to imports into the United States

when those imports are in such quantities or under such circumstances as to threaten to impair the

national security of the United States.

          68.   Section 232 also specifies the determinations that the Secretary of Commerce and

President must make before the President may take any action with respect to imports into the

United States when those imports are in such quantities or under such circumstances as to threaten

to impair the national security of the United States.

          69.   With respect to the Secretary of Commerce, Section 232 requires that he

“immediately initiate an appropriate investigation,” and “immediately provide notice to the

Secretary of Defense”; that “in the course of [the] investigation” he shall “consult with the

Secretary of Defense” and “appropriate officers of the United States”, if “appropriate and after

reasonable notice, hold public hearings or otherwise afford interested parties an opportunity to

present information and advice”; and, “no later than . . . 270 days after the date on which [the]

investigation is initiated . . . submit to the President a report on the findings of such investigation,”




                                                   18
         Case 1:22-cv-00014-N/A Document 4               Filed 01/24/22     Page 19 of 24




which “shall be published in the Federal Register” except for any portion that contains classified

or proprietary information. 19 U.S.C. § 1682(b)(2)-(3).

       70.     With respect to the President, Section 232 requires that “within 90 days after

receiving a report” issued under Section 232 by the Secretary of Commerce, in which the Secretary

of Commerce “finds that an article is being imported into the United States in such quantities or

under such circumstances as to threaten to impair the national security, “the President shall

“determine whether [he] concurs” and, if so, “determine the nature and duration of the action that

. . . must be taken to adjust the imports of the article and its derivatives so that such imports will

not threaten to impair the national security.” 19 U.S.C. § 1682(c)(1)(A). The President must then

implement any such action “no later than the date that is 15 days after the day on which the

President determines to take action.” 19 U.S.C. § 1682(c)(1)(B).

       71.     In contrast to this proscribed process, Proclamation 9980 states that the Secretary

of Commerce “informed” the President that domestic steel and aluminum capacity utilization had

not stabilized at or above the 80 percent level, “informed” the President that imports of certain

derivative articles of steel and aluminum had increased, made an “assessment” that such imports

of these derivative articles “threaten to undermine the actions taken” by the President in

Proclamations 9704 and 9705 “to address the risk to the national security of the United States

found in the Proclamation 9704 and 9705,” and “assessed” that reducing imports of certain

derivative articles would “address the threatened impairment of the national security of the United

States.” 85 Fed. Reg. 5281-82.

       72.     Prior to the President issuing Proclamation 9980, the Secretary of Commerce had

not provided him such “information” or made such “assessments” pursuant to an investigation




                                                 19
        Case 1:22-cv-00014-N/A Document 4               Filed 01/24/22     Page 20 of 24




under Section 232, nor had he done so in a report submitted within 270 days of the initiation of an

investigation under Section 232.

       73.     There is no indication that the Secretary of Commerce notified or consulted with

the Secretary of Defense or any other officer of the United States, as required under Section 232.

       74.     The Secretary of Commerce did not notify the public or provide an opportunity for

public comment on the issue prior to the President issuing Proclamation 9980.

       75.     No portion of the Secretary of Commerce’s “information” or “assessments” was

published in the Federal Register or any other place.

       76.     The Secretary of Commerce failed to comply with any of the requirements set out

under Section 232.

       77.     Accordingly, the “information” provided, and the “assessment” made, by the

Secretary of Commerce were acts outside his legal authority and as such, did not form an action

upon with the President could adjust the imports of an article and its derivatives so that such

imports will not threaten to impair national security under Section 232.

       78.     The Secretary of Commerce submitted the Steel Report to the President in January

2018, more than two years before the President issued Proclamation 9980.

       79.     The Steel Report cannot form the basis for the action taken on January 24, 2020 by

the President under Section 232 to adjust the imports of an article and its derivatives because the

elapsed time far exceeds the 90 days permitted by Section 232 for announcing the nature and

duration of any remedial action.

       80.     The President issued Proclamation 9705 on March 8, 2018, nearly two years before

the President issued Proclamation 9980 on January 24, 2020.




                                                20
           Case 1:22-cv-00014-N/A Document 4           Filed 01/24/22      Page 21 of 24




          81.   Proclamation 9705 cannot form the basis of the action taken on January 24, 2020

by the President under Section 232 to adjust the imports of an article and its derivatives because

the elapsed time far exceeds the 15 days permitted under Section 232 for implementing any

remedial steps determined by the President.

          82.   Accordingly, the issuance, implementation and enforcement of Proclamation 9980

is contrary to the requirements of Section 232 and violative of the APA.

COUNT II – UNCONSTITUTIONAL DELEGATION

          83.   THD incorporates by reference paragraphs 1 through 82 of this Complaint.

          84.   Congress has the exclusive “power to lay and collect taxes, duties, imports and

excises” and “to regulate Commerce with foreign nations.” U.S. CONST. Art. 1, § 8.

          85.   Pursuant to Section 232, Congress has vested the President with certain authority

to regulate commerce with foreign nations in response to imports into the United States in such

quantities or under such circumstances as to threaten to impair the national security of the United

States.

          86.   Section 232 is the President’s only statutory authority to regulate commerce with

foreign nations in response to imports into the United States when those imports are in such

quantities or under such circumstances as to threaten to impair the national security of the United

States.

          87.   The President has no independent constitutional authority to regulate commerce

with foreign nations in response to imports into the United States when those imports are in such

quantities or under such circumstances as to threaten to impair the national security of the United

States.

          88.   Section 232 delineates the procedure that the Secretary of Commerce and President

must follow before the President may take any action with respect to imports into the United States


                                                21
         Case 1:22-cv-00014-N/A Document 4                 Filed 01/24/22      Page 22 of 24




when those imports are in such quantities or under such circumstances as to threaten to impair the

national security of the United States.

        89.     Section 232 also specifies the determinations that the Secretary of Commerce and

President must make before the President may take any action with respect to imports into the

United States when those imports are in such quantities or under such circumstances as to threaten

to impair the national security of the United States.

        90.     With respect to the Secretary of Commerce, Section 232 requires that he

“immediately initiate an appropriate investigation,” and “immediately provide notice to the

Secretary of Defense”, that “in the course of [the] investigation” he shall “consult with the

Secretary of Defense” and “appropriate officers of the United States”; if “appropriate and after

reasonable notice, hold public hearings or otherwise afford interested parties an opportunity to

present information and advice”; and, “no later than . . . 270 days after the date on which [the]

investigation is initiated . . ., submit to the President a report on the findings of such investigation,”

which “shall be published in the Federal Register” except for any portion that contains classified

or proprietary information. 19 U.S.C. § 1682(b)(2)-(3).

        91.     The Secretary of Commerce did not comply with any of these requirements as to

the “information” and “assessments” he provided to the President in connection with Proclamation

9980.

        92.     With respect to the President, Section 232 requires that “within 90 days after

receiving a report” issued under Section 232 by the Secretary of Commerce, in which the Secretary

of Commerce “finds that an article is being imported into the United States in such quantities or

under such circumstances as to threaten to impair the national security,” the President shall

“determine whether [he] concurs” and, if so, “determine the nature and duration of the action that




                                                   22
           Case 1:22-cv-00014-N/A Document 4             Filed 01/24/22     Page 23 of 24




. . . must be taken to adjust the imports of the article and its derivatives so that such imports will

not threaten to impair the national security.” 19 U.S.C. § 1682(c)(1)(A). The President must then

implement any such action “no later than the date that is 15 days after the day on which the

President determines to take action.” 19 U.S.C. § 1682(c)(1)(B).

          93.    The President did not comply with any of these requirements when he issued

Proclamation 9980.

          94.    In addition, the “information” and “assessments” the President received from the

Secretary of Commerce in connection with Proclamation 9980 were not the report and findings

required under Section 232 before the President could take action to adjust the imports of an article

and its derivatives so that such imports will not threaten to impair the national security.

          95.    Nevertheless, Proclamation 9980 purports to be an exercise of the President’s

authority under Section 232.

          96.    As applied by the President and Secretary of Commerce with respect to

Proclamation 9980, Section 232 is an unconstitutional delegation of Commerce’s exclusive power

to “lay and collect . . . duties” and “to regulate Commerce with foreign nations,” U.S. CONS. Art.

1, § 8.

          97.    Accordingly, Proclamation 9980 is not a Constitutional exercise of the President’s

authority under Section 232 and is therefore void.

DEMAND FOR JUDGMENT AND RELIEF

          WHEREFORE, Plaintiff respectfully requests that this Court:

          (1) declare that Defendants’ actions resulting in tariffs on products covered by

          Proclamation 9980 are unauthorized by, and contrary to, Section 232 of the Trade




                                                 23
        Case 1:22-cv-00014-N/A Document 4              Filed 01/24/22       Page 24 of 24




       Expansion Act of 1962, as amended (19 U.S.C. § 1862) and/or the Administrative

       Procedures Act (APA);

       (2) declare that Defendants’ actions resulting in tariffs on products covered by

       Proclamation 9980 is not a Constitutional exercise of the President’s authority under

       Section 232, and is therefore void;

       (3) order Defendants to refund, with interest, any duties paid by Plaintiff pursuant to

       Proclamation 9980;

       (4) permanently enjoin Defendants from applying Proclamation 9980 against Plaintiff and

       collecting any duties from Plaintiff pursuant to Proclamation 9980;

       (5) award Plaintiff its costs and reasonable attorney fees; and

       (6) grant such other and further relief as may be just and proper.



                                             Respectfully submitted,


                                             /s/ Wm. Randolph Rucker
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January 24, 2022                             Counsel to Plaintiff




                                                24
